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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al., 1                        Case No. 24-12480 (JTD)

                               Debtors.                     (Jointly Administered)

                                                            Ref. Docket No. 271


       CERTIFICATION OF COUNSEL REGARDING REVISED PROPOSED THIRD
        OMNIBUS ORDER, PURSUANT TO SECTIONS 105(a), 365(a), AND 554 OF
       THE BANKRUPTCY CODE AUTHORIZING THE DEBTORS TO (I) REJECT
           CERTAIN UNEXPIRED LEASES AS OF THE REJECTION DATE
                   AND (II) ABANDON PERSONAL PROPERTY

         On November 29, 2024, the debtors and debtors in possession in the above-captioned cases

(collectively, the “Debtors”) filed the Debtors’ Third Omnibus Motion for Entry of an Order,

Pursuant to Sections 105(a), 365(a), and 554 of the Bankruptcy Code Authorizing the Debtors to

(I) Reject Certain Unexpired Leases as of the Rejection Date and (II) Abandon Personal Property



1
     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
     Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
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[Docket No. 271] (the “Motion”). A proposed form of order approving the Motion was attached

thereto as Exhibit A (the “Proposed Order”).

       The deadline to file objections or otherwise respond to the Motion was set as

December 10, 2024 at 4:00 p.m. (ET) (the “Objection Deadline”). Prior to the Objection Deadline,

the Debtors received informal comments to the Proposed Order from the Official Committee of

Unsecured Creditors (the “Committee”).

       To resolve the Committee’s comments, the Debtors have agreed to revise the Proposed

Order, as reflected in the revised proposed order attached hereto as Exhibit A (the “Revised

Proposed Order”). For the convenience of the Court and other interested parties, a blackline

comparing the Revised Proposed Order against the Proposed Order is attached hereto as Exhibit B.

       WHEREFORE, the Debtors did not receive any objections or responses other than those

described herein, and the Committee does not object to entry of the Revised Proposed Order, the

Debtors respectfully request that the Court enter the Revised Proposed Order without further notice

or a hearing at the Court’s earliest convenience.

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Dated: December 11, 2024
       Wilmington, Delaware


                                 YOUNG CONAWAY STARGATT & TAYLOR,
                                 LLP

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                                 -and-

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                                 Proposed Co-Counsel to the Debtors
                                 and Debtors in Possession




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                      EXHIBIT A

                Revised Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al., 1                        Case No. 24-12480 (JTD)

                               Debtors.                     (Jointly Administered)

                                                            Ref. Docket No. 271

  THIRD OMNIBUS ORDER, PURSUANT TO SECTIONS 105(a), 365(a), AND 554
  OF THE BANKRUPTCY CODE AUTHORIZING THE DEBTORS TO (I) REJECT
CERTAIN UNEXPIRED LEASES AS OF THE REJECTION DATE AND (II) ABANDON
                      PERSONAL PROPERTY

         Upon consideration of the motion (the “Motion”) 2 of the debtors and debtors-in-possession

in the above-captioned chapter 11 cases (collectively, the “Debtors”) for the entry of an order

(this “Order”), pursuant to sections 105(a), 365, and 554 of the Bankruptcy Code, authorizing the

Debtors to (i) reject the Rejected Leases set forth on Schedule 1 to this Order, effective as of



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     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
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     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
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     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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November 30, 2024 (the “Rejection Date”), and (ii) abandon personal property (the “Personal

Property”); and upon consideration of the Motion and all pleadings related thereto, including the

First Day Declaration; and due and adequate notice of the Motion having been given under the

circumstances; and having determined that no other or further notice of the Motion is required;

and having determined that this Court has jurisdiction to consider the Motion in accordance with

28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated as of February 29, 2012; and having determined

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and having determined that venue

of these Chapter 11 Cases and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

it appearing that the relief requested in the Motion is in the best interests of the Debtors, their

estates, their creditors, and other parties in interest; and after due deliberation and sufficient cause

appearing therefor,

                IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED as set forth herein.

        2.      Pursuant to sections 105(a) and 365(a) of the Bankruptcy Code and Bankruptcy

Rule 6006, the Rejected Leases, to the extent not already terminated in accordance with their

applicable terms or upon agreement of the parties, are hereby rejected by the Debtors, with such

rejection being effective as of the Rejection Date.

        3.      Pursuant to sections 105(a) and 554(a) of the Bankruptcy Code and Bankruptcy

Rule 6007, any Personal Property remaining, as of the Rejection Date, on the Rejected Premises

is hereby abandoned by the Debtors, with such abandonment being effective as of the Rejection

Date. Landlords of the Rejected Premises may dispose of any and all Abandoned Personal




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Property remaining on the Rejected Premises without further notice or liability to any third party

or the Debtors. To the extent necessary, the automatic stay is modified to allow such disposition.

        4.      If the Debtors have deposited monies with a counterparty to a Rejected Lease as a

security deposit or other arrangement, such counterparty may not setoff or recoup or otherwise use

such deposit without the prior authority of this Court.

        5.      Any person or entity that holds a claim that arises from the Rejected Leases must

file a proof of claim based on such rejection by the later of (i) the last date and time for each person

or entity to file proofs of claim based on prepetition claims against any of the Debtors as set by an

order of this Court; or (ii) thirty (30) days after the entry of this Order.

        6.      Nothing in this Order shall impair, prejudice, waive or otherwise affect any of the

rights of the Debtors or any other party to: (a) assert or contest that the Rejected Leases (i) were

terminated on the Rejection Date, or (ii) are not executory contracts or unexpired leases under

section 365 of the Bankruptcy Code; (b) assert or contest that any claim for damages arising from

the rejection of the Rejected Leases is limited to the remedies available under any applicable

termination provisions of the Rejected Leases; (c) assert or contest that any such claim is an

obligation of a third party, and not that of the Debtors or their estates; or (d) otherwise assert or

contest any claims that may be asserted in connection with the Rejected Leases. All rights, claims,

defenses and causes of action that the Debtors and their estates may have against the counterparties

to the Rejected Leases, whether or not such claims arise under, are related to the rejection of, or

are independent of the Rejected Leases, are reserved, and nothing herein is intended or shall be

deemed to impair, prejudice, waive or otherwise affect such rights, claims, defenses and causes of

action. Additionally, all rights, claims, defenses, and causes of action of any counterparty to the

Rejected Agreements, whether or not such claims arise under, are related to the rejection of, or are




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independent of the Rejected Agreements, are reserved, and nothing herein is intended or shall be

deemed to impair, prejudice, waive or otherwise affect such rights, claims, defenses and causes of

action.

          7.    Nothing this Order shall be construed to (a) create or perfect, in favor of any person

or entity, any interest in cash of a Debtor that did not exist as of the Petition Date or (b) alter or

impair any security interest or perfection thereof, in favor of any person or entity, that existed as

of the Petition Date.

          8.    Nothing in this Order shall create, nor is intended to create, any rights in favor of

or enhance the status of any claim held by any party.

          9.    The requirements in Bankruptcy Rules 6006 and 6007 are satisfied.

          10.   The Debtors are authorized to take any and all actions necessary to effectuate the

relief granted herein.

          11.   Notwithstanding any applicability of Bankruptcy Rule 6004(h), the terms and

conditions of this Order shall be effective and enforceable immediately upon its entry.

          12.   This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation or interpretation of this Order.




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                                                 Schedule 1

                                             Rejected Leases 1




1
    Each, as may be amended, modified, or supplemented from time to time and together with any schedules thereto.
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           Debtor Entity                           Counterparty                        Counterparty's Address                     Rejected Agreement and Property              Store


                                                                                       Centerpoint 550, LLC              Distribution Center Lease, Dated August 7, 2013, as
                                                                                  2710 Centerville Road Suite 104                             amended
American Freight Outlet Stores, LLC            Centerpoint 550, LLC                                                                                                            4052
                                                                             Wilmington, DE 19808 Attn: Patrick Moran
                                                                                                                            700 Centerpoint Blvd New Castle, DE 19720




                                                                                   PFIILP - Parr Boulevard, LLC
                                                                                                                        Lease Agreement, Dated August 31, 2016, as amended
                                                                                      c/o PDC Nevada, LLC
American Freight Outlet Stores, LLC         PFIILP - Parr Boulevard, LLC           980 Sand Hill Road Suite 100                                                                5236
                                                                                                                                          400 E Parr Blvd
                                                                                         Reno, NV 89521
                                                                                                                                          Reno, NV 89512
                                                                                        Attn: Doug Roberts


                                                                                          400 Success LLC
                                                                                            P.O. Box 148                   Lease, Dated November 6, 2017, as amended
  Vitamin Shoppe Industries LLC                  400 Success LLC              Croton on Hudson, New York, 10520-0148                                                           6042
                                                                                         Attn: Andrew Zafir                               400 Plaza Drive
                                                                                      andrewzafir@msn.co                                Secaucus, NJ 07094



                                                                                      Maxim Chambers II, LLC
                                                                                c/o Pegasus Asset Management Inc.          Lease, Dated September 19, 2014, as amended
                                                                                1901 Avenue of the Stars, Suite 630
  Vitamin Shoppe Industries LLC              Maxim Chambers II, LLC                                                                                                            766
                                                                                      Los Angeles, CA, 90067                           108 Chambers Street
                                                                                       Attn: Benn Schecter                              New York, NY 10007
                                                                                    bschecter@pegasusam.com
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                      EXHIBIT B

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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al.,1                         Case No. 24-12480 (JTD)

                                Debtors.                    (Jointly Administered)

                                                            Ref. Docket No. __271

     THIRD OMNIBUS ORDER, PURSUANT TO SECTIONS 105(a), 365(a), AND 554
     OF THE BANKRUPTCY CODE AUTHORIZING THE DEBTORS TO (I) REJECT
       CERTAIN UNEXPIRED LEASES AS OF THE REJECTION DATE AND (II)
                     ABANDON PERSONAL PROPERTY


         Upon      consideration      of    the    motion     (the    “Motion”)2       of   the    debtors     and

debtors-in-possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) for

the entry of an order (this “Order”), pursuant to sections 105(a), 365, and 554 of the Bankruptcy




1
     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM
     Receivables, Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group
     New Holdco, LLC (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068),
     Franchise Group Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise
     Group Newco Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight
     Holdings, LLC (8271), American Freight, LLC (5940), American Freight Management Company, LLC (1215),
     Franchise Group Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight
     Franchising, LLC (1353), Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573),
     American Freight Franchisor, LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC
     (5404), Buddy’s Franchising and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958),
     Franchise Group Newco V, LLC (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group
     Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin
     Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services,
     LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt
     Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco PSP,
     LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service
     Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
     Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group
     Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The
     Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware, Ohio 43015.
2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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Code, authorizing the Debtors to (i) reject the Rejected Leases set forth on Schedule 1 to this

Order, effective as of November 30, 2024 (the “Rejection Date”), and (ii) abandon personal

property (the “Personal Property”); and upon consideration of the Motion and all pleadings

related thereto, including the First Day Declaration; and due and adequate notice of the Motion

having been given under the circumstances; and having determined that no other or further

notice of the Motion is required; and having determined that this Court has jurisdiction to

consider the Motion in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated as of

February 29, 2012; and having determined that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and having determined that venue of these Chapter 11 Cases and the Motion is

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that the relief requested in the

Motion is in the best interests of the Debtors, their estates, their creditors, and other parties in

interest; and after due deliberation and sufficient cause appearing therefor,

               IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      Pursuant to sections 105(a) and 365(a) of the Bankruptcy Code and Bankruptcy

Rule 6006, the Rejected Leases, to the extent not already terminated in accordance with their

applicable terms or upon agreement of the parties, are hereby rejected by the Debtors, with such

rejection being effective as of the Rejection Date.

       3.      Pursuant to sections 105(a) and 554(a) of the Bankruptcy Code and Bankruptcy

Rule 6007, any Personal Property remaining, as of the Rejection Date, on the Rejected Premises

is hereby abandoned by the Debtors, with such abandonment being effective as of the Rejection




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Date. Landlords of the Rejected Premises may dispose of any and all Abandoned Personal

Property remaining on the Rejected Premises without further notice or liability to any third party

or the Debtors. To the extent necessary, the automatic stay is modified to allow such disposition.

        4.      If the Debtors have deposited monies with a counterparty to a Rejected Lease as a

security deposit or other arrangement, such counterparty may not setoff or recoup or otherwise

use such deposit without the prior authority of this Court.

        5.      Any person or entity that holds a claim that arises from the Rejected Leases must

file a proof of claim based on such rejection by the later of (i) the last date and time for each

person or entity to file proofs of claim based on prepetition claims against any of the Debtors as

set by an order of this Court; or (ii) thirty (30) days after the entry of this Order.

        6.      Nothing in this Order shall impair, prejudice, waive or otherwise affect any of the

rights of the Debtors or any other party to: (a) assert or contest that the Rejected Leases (i) were

terminated on the Rejection Date, or (ii) are not executory contracts or unexpired leases under

section 365 of the Bankruptcy Code; (b) assert or contest that any claim for damages arising

from the rejection of the Rejected Leases is limited to the remedies available under any

applicable termination provisions of the Rejected Leases; (c) assert or contest that any such

claim is an obligation of a third party, and not that of the Debtors or their estates; or

(d) otherwise assert or contest any claims that may be asserted in connection with the Rejected

Leases. All rights, claims, defenses and causes of action that the Debtors and their estates may

have against the counterparties to the Rejected Leases, whether or not such claims arise under,

are related to the rejection of, or are independent of the Rejected Leases, are reserved, and

nothing herein is intended or shall be deemed to impair, prejudice, waive or otherwise affect

such rights, claims, defenses and causes of action. Additionally, all rights, claims, defenses, and




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causes of action of any counterparty to the Rejected Agreements, whether or not such claims

arise under, are related to the rejection of, or are independent of the Rejected Agreements, are

reserved, and nothing herein is intended or shall be deemed to impair, prejudice, waive or

otherwise affect such rights, claims, defenses and causes of action.

       7.      Nothing this Order shall be construed to (a) create or perfect, in favor of any

person or entity, any interest in cash of a Debtor that did not exist as of the Petition Date or (b)

alter or impair any security interest or perfection thereof, in favor of any person or entity, that

existed as of the Petition Date.

       8.      Nothing in this Order shall create, nor is intended to create, any rights in favor of

or enhance the status of any claim held by any party.

       9.      The requirements in Bankruptcy Rules 6006 and 6007 are satisfied.

       10.     The Debtors are authorized to take any and all actions necessary to effectuate the

relief granted herein.

       11.     Notwithstanding any applicability of Bankruptcy Rule 6004(h), the terms and

conditions of this Order shall be effective and enforceable immediately upon its entry.

       12.     This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation or interpretation of this Order.




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                                                 Schedule 1

                                              Rejected Leases1


                                         [Intentionally Omitted]




1
    Each, as may be amended, modified, or supplemented from time to time and together with any schedules thereto.
